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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
CASE NO.: 18-20393-MGC(s)
UNITED STATES OF AMERICA,
Plaintiff,
Vv.

SANDRA RUBALLO,

Defendant.
/

DEFENDANT RUBALLO’S MOTION TO STRIKE PRESENTENCE
INVESTIGATION REPORT, ORDER UNITED STATES PROBATION OFFICE TO
PREPARE AND FILE REVISED PRESENTENCE INVESTIGATION REPORT, AND
ORDER GOVERNMENT TO DISCLOSE ALL SUBMISSIONS PROVIDED TO
UNITED STATES PROBATION OFFICE
AND INCORPORATED MEMORANDUM OF LAW

The Defendant, SANDRA RUBALLO (“Ruballo”), through undersigned counsel,
respectfully moves this Court to: 1) strike the presentence investigation report (“PSR”) filed by the
United States Probation Office (“USPO”) on April 3, 2019 [DE172]; 2) order the USPO to prepare
and submit a revised PSR; and 3) order the Government to disclose all information and documents
provided to the USPO, including its recommendations regarding calculation of loss and other
enhancements and adjustments. In support, Ruballo avers:

L. “The task of conducting presentence investigations is assigned to U.S. probation officers,
an assignment requiring a professional presentence report of the highest quality.” The Presentence
Investigation Report, Office of Probation and Pretrial Services, Publication 107, at i-1 (Rev.

March 2006). “PSRs are confidential reports created by an arm of the court and designed for use

by a judge in reaching a fair sentence.” United States v. Pendleton, 832 F.3d 934, 940 (8" Cir.

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2016). “The probation officer’s duty is to compile information which then takes the form of a
neutral written recommendation to the judge. His purpose is still to provide the trial judge with
as much information as possible in order to enable the judge to make an informed decision.”
United States v. Belgard, 894 F.2d 1092, 1097 (9 Cir. 1990) (emphasis added). However,
“probation officers [are] trained to aid offenders, not to prosecute them.” /d. at 1098. For that
reason, “[o]fficers should be open to receiving information from all parties, but should be cautious
about adopting any party’s interpretation outright.” The Presentence Investigation Report, Office
of Probation and Pretrial Services, Publication 107, at I-1 (Rev. March 2006). Since a “probation
officer is expected ‘to exercise his independent judgment as to the application of the guidelines’,
[a] PS[R] report therefore cannot be attributed to the prosecution....” United States v.
Betancourt-Perez, 833 F.3d 18, 24 (1* Cir. 2016) (citation omitted). While the Government and
a defendant may submit their respective versions of the offense and guideline calculations to the
USPO, submissions provided by the Government should be clearly marked as such in the PSR so
that a defendant and the sentencing court can differentiate between the probation officer’s
independent findings and guideline calculations and the Government’s version of the case. See
United States v. Marino, 835 F.Supp. 1501, 1535-36 (N.D.IIL 1993).

Ze “Officers should take great care in what they include in the reports, clearly distinguishing
among information that is verified, corroborated, or alleged.” The Presentence Investigation
Report, Office of Probation and Pretrial Services, Publication 107, at I-2 (Rev. March 2006).
Moreover, “[a] simple recitation of the government’s version of events is inconsistent with the
independent nature of [the offense] section.” /d. at III-10. After perusing Ruballo’s PSR,
undersigned counsel believed that she had previously read many of the same paragraphs verbatim

in different documents relating to this case. Incident to a further review of pleadings and discovery,

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undersigned counsel noticed that numerous paragraphs contained in the PSR were copied exactly
from the Criminal Complaint (attached as Exhibit A) and a document entitled “Factual Proffer”
(attached as Exhibit B) filed in United States vy. Yudy Miranda, case no. 18-CR-20040-
MARTINEZ, as well as from the Criminal Complaints for Ruballo (attached as Exhibit
C) and co-defendant Carlos Montoya (“Montoya”) (attached as Exhibit D), without
attributing the appropriated information to the Government.

3. Those identical sections from Miranda’s Criminal Complaint and Factual Proffer and the
Criminal Complaints for Ruballo and Montoya, written by the Government, appear in whole or in
part in paragraphs 9, 10, 11, 12, 13, 14, 15, 16, 19, 20, 21, 22, 24, 27, 28, 29, and 30 of Ruballo’s
PSR. Also included as part of Ruballo’s PSR is the following identical chart included in Miranda’s

Criminal Complaint without acknowledging that it was prepared by the Government:

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4. Based upon information provided or authored by the Government but made to appear to be
an independent investigation by the USPO, Ruballo’s PSR is nothing more than a one-sided
advocacy paper for the Government. Instead of independently investigating the underlying

circumstances of this case, the PSR has merely copied and pasted the Government’s version of the

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case from Government-authored record documents and likely from submissions directly provided
to the USPO by the Government for inclusion in the PSR.

5. It is also likely that the PSR adopted whatever information the Government provided the
USPO concerning guideline calculations, including role assessment, calculation of loss, and
adjustments for obstruction of justice and acceptance of responsibility, rendering the PSR’s
recommendations of dubious validity. For example, the PSR fails to explain how it determined the
actual or intended loss or restitution, leaving it only to guesswork and the Government’s ipse
dixit calculations. While conceding that the losses suffered by the victim — the Food and
Nutrition Service/United States Department of Agriculture — has not yet been ascertained, the
PSR nonetheless blindly adopts the Government’s proffered $25,000,000 loss attributable to
Ruballo’s conduct to increase her base offense level of 7 by 22, and ultimately calculates a
guideline imprisonment range of 262-327 months. That latter alleged loss calculation greatly
exceeds: 1) the 18-level increase for a calculated loss between $3,900,000-$9,500,000 as part of
the Government’s December 4, 2018 plea offer to conspiracy to commit wire fraud, resulting in
an adjusted guideline range of 78-97 months; 2) the 20-level increase for a calculated loss greater
than $9,500,000 as part of the Government’s February 19, 2019 plea offer to conspiracy to
commit wire fraud, resulting in an adjusted guideline range of 135-168 months; and 3) the 18-
level increase for a calculated loss between $3,900,000-$9,500,000 attributed to co-conspirator
Yudy Miranda who is the person who physically committed the fraud by altering documents
submitted for reimbursement. Significantly, the PSR also fails to consider that any losses
incurred by the victim can be offset in this case by the value of legitimate services provided. Cf
United States v. Campbell, 765 F.3d 1291, 1302 (11™ Cir. 2014) (“If the defendant returned any

money to the victim or rendered any legitimate services to the victim before the fraud was

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detected, the loss amount must be reduced by the fair market value of the returned money or the
services rendered.”).

6. Given the Government’s punitive escalation of its loss calculation within the four-month
period preceding her guilty plea, Ruballo requests this Court to order the Government to provide
undersigned counsel and the USPO with a fact-based explanation for its various calculations and
the discrepancies between those calculations contained in its previous plea offers to Ruballo and
the latest $25,000,000 loss amount.' Only then can the Government’s submissions on loss be
analyzed, allowing Ruballo to file objections thereto and this Court to make specific factual
findings upon which to base the loss amounts attributable to Ruballo.

de Ruballo submits that her due process rights would be violated if this Court does not assure
that the USPO’s preparation of the PSR is fair and impartial in the presentation of the offense
conduct and intelligently addresses the guideline calculations and the applicability of any

adjustments. Accordingly, Ruballo requests the following relief:

a. Striking the PSR and ordering the USPO to prepare a revised PSR by conducting
an independent investigation of the underlying circumstances of this case,
calculation of the applicable guidelines range and review of any factors which

may warrant an increase or decrease of offense levels;

 

' Another example of the USPO’s broad-brush analysis in the PSR is its conclusory assessment
of a two-level increase under U.S.S.G. §3B1.3 for abuse of trust notwithstanding the fact that
Ruballo did not occupy a position of trust vis-a’-vis the alleged victim, the Food and Nutrition
Service/United States Department of Agriculture, and that the conduct which forms the basis of
her conviction to which she pled (fraud) is the same as the enhancement and thus, is already
included in the fraud base offense level and the specific offense characteristics thereunder. Cf
United States v. Garrison, 133 F.3d 831 (11" Cir. 1998) (Owner and chief executive officer of
home healthcare provider did not occupy position of trust with regard to Medicare and could not
receive two-level enhancement for abusing a position of trust when sentenced for Medicare fraud
where Medicare requests had to be reviewed and approved by third-party Aetna before being
submitted to Medicare for reimbursement).

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b. Ordering the Government to disclose to Ruballo all the information submitted to
the USPO concerning this case, including guideline calculations pertaining to role
assessment, calculation of loss, and adjustments for obstruction of justice and
acceptance of responsibility, and any other adjustments and enhancements; and

c. Allowing Ruballo an opportunity to file objections and present any other

information in response to the revised PSR.

Respectfully submitted,

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BY: /s/ Mycki Ratzan, Esq.

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was served upon all

counsel of record by using the CM-ECF system this 29" day April 2019.

/s/ Mycki Ratzan, Esq.
Mycki Ratzan, Esq.

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